                IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF VIRGINIA
                          Alexandria Division

UNITED STATES OF AMERICA,                     )
                                              )      No. 1:19-cr-59
      v.                                      )
                                              )      Hon. Liam O’Grady
DANIEL EVERETTE HALE,                         )
                                              )      Motion Hr’g: Oct. 18, 2019
                    Defendant.                )


               MOTION TO DISMISS COUNT 5 (18 U.S.C. § 641)

      Defendant, Daniel Everette Hale, respectfully moves this Court to dismiss

Count 5 of the Superseding Indictment, Dkt. No. 12, because 18 U.S.C. § 641, theft of

government property, does not reach the conduct the government alleges occurred in

this case. Although the Fourth Circuit has ruled that § 641 can apply to Espionage

Act cases, the defense submits this motion for purposes of preserving the legal issue.

See United States v. Fowler, 932 F.2d 306, 310 (4th Cir. 1991). See also United States

v. Morison, 844 F.2d 1057, 1076-77 (4th Cir. 1988). For the reasons that follow,

Fowler is wrongly decided because § 641 applies to acts of theft or conversion that

deprive the government of an item of value. Conduct such as that alleged here,

copying and passing documents and information to a member of the news media, does

not fit the bill. Therefore, § 641 does not and should not reach the conduct alleged in

the indictment. Were it otherwise, the Espionage Act, 18 U.S.C. §§ 793 et seq., would

be superfluous. Accordingly, Fowler should be overturned, and Count 5 should be

dismissed.
 I.   Fourth Circuit legal background

      In 1988, the Fourth Circuit held that the theft of documents provided to a

defense publication in exchange for remuneration to the defendant could properly be

considered a violation of 18 U.S.C. § 641. See Morison, 844 F.2d at 1061, 1077 (for

personal profit, defendant stole classified photographs (the physical items) marked

as such, and mailed them to a defense publication). Three years after Morison, the

Fourth Circuit went further, rejecting the defendant’s contention that because he

only took copies of documents, § 641 did not reach his conduct. Fowler, 932 F.2d at

309-10 (defendant provided employer with documents, copies of documents and

information assimilated into reports). Morison pointedly had considered only the

“actual theft and deprivation” of documents for personal gain, drawing a substantive

distinction between the facts before it, which resulted in a “deprivation of the

government of its own tangible property,” and those involving “copying” in which

“possession was not disturbed.” Morison, 844 F. 2d at 1077. But Fowler stretched

§ 641 to include transmission or copying of information even when the government

was not “actually depriv[ed]” of the document or information as a result. See 932 F.2d

at 309-10 (citing Carpenter v. United States, 484 U.S. 19, 25 (1987)).

      Fowler went too far, and should be overruled. First, Fowler’s interpretation of

§ 641 renders the statute almost limitless in scope and, thus, constitutionally

overbroad and vague—this is a subject of the defense’s contemporaneously filed

constitutional motion. But even setting aside the constitutional infirmity, Fowler was

wrongly decided because it is at odds with § 641’s text and common law roots.



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II.   18 U.S.C. § 641 by its text and common law origin does not apply to
      providing information to news media

      Section 641 reads, in relevant part:

             Whoever embezzles, steals, purloins, or knowingly converts to his
             use or the use of another, or without authority, sells conveys or
             disposes of any record, voucher, money, or thing of value of the
             United States or of any department or agency thereof, or any
             property made or being made under contract for the United States
             or any department or agency thereof; or

             Whoever receives, conceals, or retains the same with intent to
             convert it to his use or gain, knowing it to have been embezzled,
             stolen, purloined or converted

             Shall be fined under this title or imprisoned not more than ten
             years, or both . . .

      The text of § 641 makes clear that the statute targets a taking with intent to

deprive the rightful owner of his possessory interest in the item taken. The language

does not employ broadly applicable verbs that rope in the type of conduct at issue in

this case. Rather, the text is targeted to criminal taking: Embezzling, stealing,

purloining, and knowingly converting to one’s own use are all ways of describing

unlawful taking of another’s property. See, e.g., Morissette v. United States, 342 U.S.

246, 271-72 (1952) (§ 641 derived from congressional effort to collect “larceny-type”

offenses in single statute to “reach all [ ] instances” “under which one may obtain

wrongful advantages from another’s property”). 1 And criminal taking, whatever verb

is used, connotes a corresponding deprivation of property by its owner as a result:

“Stealing, larceny, and its variants and equivalents . . . are invasions of rights of


1Morissette held that criminal intent was a necessary element of the offense. See
342 U.S. at 273.

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property.” 2 See id. at 260. Morisette allowed that the drafters of § 641 were trying to

reach “gaps and loopholes between [the] offenses” of theft and conversion, but

concluded that they meant to do so as others codifying similar conduct had done,

“without departing from the[ir] common-law tradition . . . .” Id. at 273. Further

emphasizing that § 641 is bound to deprivation of property, the statute requires that

the item taken not only be a thing of value, but that its value be clearly determinable:

Whether the offense constitutes a misdemeanor or a felony turns on the dollar value

of the thing taken. See 18 U.S.C. § 641 (if value of property does not exceed $1,000,

maximum penalty is not more than 1 year imprisonment).

      The Ninth Circuit has rejected the application of § 641 to intangible items

entirely, noting that doing so avoids entanglements between § 641 and the First

Amendment. See United States v. Tobias, 836 F.2d 449, 451 (9th Cir. 1988)

(reaffirming holding in Chappell v. United States, 270 F.2d 274, 278 (9th Cir. 1959),

that § 641 does not apply to intangible items). But even the Circuits that have agreed

that the taking of information can be the subject of a § 641 taking, have stopped short

of Fowler’s overreaching interpretation by pinning their decisions to dollar amounts

and recognizing that the First Amendment likely limits § 641’s reach. See United

States v. Girard, 601 F.2d 69, 70 (2d Cir. 1979) (involving actual sale of DEA

informant information for $500 per name); id. at 71-72 (recognizing First Amendment



2 But see Fowler, 932 F.2d at 310 (holding § 641 applicable to copies of documents,
even though no permanent deprivation of property because documents contain
intangible information (citing Morison, 844 F.2d at 1076-77; Carpenter v. United
States, 484 U.S. 19 (1987)).

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implications); United States v. Jeter, 775 F.2d 670, 682 (6th Cir. 1985) (affirming

conviction under “selling” prong of § 641 because items at issue, carbon copies of

grand jury transcripts, prohibited from disclosure by law and could be assessed a

dollar value by cost of real transcript and amount defendant received); id. at 682

(recognizing First Amendment implications but noting not at issue in instant case).

In fact, Jeter elided the question whether intangible information could be the subject

of the “taking” portion of § 641, basing its ruling instead on the statute’s

“unauthorized selling” prong. See id. at 680.

      Consider the allegations in this case: No deprivation of possessory interest is

alleged; the government retains the information at issue. The allegation is that Mr.

Hale “printed” certain documents, or portions of documents, and shared them with a

reporter, implicitly conceding that the government retains the information allegedly

disclosed. See Superseding Indictment ¶¶ 24-38. No personal gain is alleged. The

government says the information was passed to a reporter for publication without

alleging that Mr. Hale received remuneration. Nor does the indictment provide any

basis for concluding that the information has financial value.            Though the

government charged Count 5 as a felony, it has offered no basis for its valuation. 3

      It is critical to remember that, unlike the Espionage Act, § 641 is not limited

to classified or national defense information. Thus, interpreting the statute to reach

copies of documents and intangible information means that obtaining and




3The defense is requesting this information as part of its contemporaneously filed
Motion for Bill of Particulars.
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communicating any government information—if § 641 applies to information, it

contains no limit on what type of information—to a third party without authorization

is a criminal taking, even if the government retains the same documents or

information. Such an interpretation strays far from § 641’s common law origins in

property law. It is nearly limitless and, therefore, at odds with the narrow set of

verbs the statute employs. As a result, the Fowler reading renders § 641 ripe for

abuse. Turning, as it would, on whether the disclosure is considered authorized, not

on the type of information or the potential for harm, application could sway with

personal or political animus.

      This case is a good example. The government’s real complaint is not that it

was deprived of financially valuable documents, but rather that it was deprived of

the secrecy shielding the information in those documents. Secrecy, however, is an

abstract concept not even within the liberal scope of Fowler’s interpretation of what

could entail government property under § 641. Section 641 prohibits the taking of a

thing, not the taking of a thing’s secrecy. That is the purview of the Espionage Act,

which governs the deprivation of secrecy. Contorting § 641 to cover a deprivation of

secrecy supplants the Espionage Act and renders it redundant to the theft statute:

        In sum, because a criminal prohibition against the unauthorized
        disclosure of classified information would be inconsistent with the
        existing pattern of criminal statutes governing the disclosure of
        classified information and because Congress has always refused to
        enact a statute like § 641 applicable to the disclosure of classified
        information, I would hold that § 641 cannot be interpreted to punish
        the unauthorized disclosure of classified information.




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United States v. Truong Dinh Hung, 629 F.2d 908, 928 (4th Cir. 1980) (Winter, J.,

concurring). But see Fowler, 932 F.2d at 309-10 (considering and rejecting Judge

Winter’s position in Truong Dinh Hung).

      There is ample evidence that § 641 was not meant to have such breathtaking

sweep. For example, in 2001, Congress attempted to pass a statute that would

criminalize, as a felony, the disclosure of classified information by government

employees. This would have been entirely redundant if § 641 already reached that

conduct. See Intelligence Authorization Act for Fiscal Year 2001, H.R. 4392, 106th

Cong. See also Seatrain Shipbuilding Corp. v. Shell Oil Co., 444 U.S. 572, 596 (1980)

(later congressional statement or action can illuminate past congressional intent). It

is noteworthy, too, that, in vetoing the legislation then-President Bill Clinton cited

its broad wording as a threat to the free flow of ideas between government officials.

See Message on Returning Without Approval to the House of Representatives

Intelligence Authorization Legislation for Fiscal Year 2001, 3 Pub. Papers 2466-67

(Nov. 4, 2000). This would have been an empty rebuke if § 641 contained the same

type of broad language about which the President was concerned. In a similar vein,

the U.S. Attorney’s Manual’s “Policies for the Prosecution of Espionage, Export and

Other Internal Security Offenses” does not mention 18 U.S.C. § 641. See USAM § 9-

90.300. 4 While the Manual’s list is perhaps not exhaustive, its omission of § 641 is



4Available online at <https://www.justice.gov/archives/usam/archives/usam-9-
90000-national-security#9-90.300>. The included listing of “Key National Defense
and National Security Provisions” is available online at
<https://www.justice.gov/jm/criminal-resource-manual-2057-synopses-key-national-
defense-and-national-security-provisions>.
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another piece of evidence that the theft statute has not been interpreted to cover the

types of information disclosure governed by the Espionage Act.

      Here, even the government appears caught in its own web. It alleges Mr. Hale

took information while implicitly conceding his taking did not deprive the

government of its possession and making no factual allegation at all as to the value

of the item allegedly taken. In Morison, the Fourth Circuit rightly drew a line

between depriving an owner of possession and copying intangible information. See

844 F.2d at 1077 (explicitly excluding reliance on two cases that involved copying

where “defendant’s possession in both cases was not disturbed”). The former satisfies

§ 641; the latter should not.

      Accordingly, notwithstanding the Fourth Circuit’s decision in United States v.

Fowler, the defense submits that 18 U.S.C. § 641 does not cover the type of conduct

alleged in this case. Therefore, Count 5 should be dismissed.




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    Respectfully submitted,

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                          CERTIFICATE OF SERVICE

    I hereby certify that on September 16, 2019, I filed the foregoing via the
CM/ECF system, which will electronically serve a copy upon counsel of record.


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